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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

 In re Subpoena                            )   Case No.: 1:23-cv-00426-JMS-WRP
                                           )   (Copyright)
 Internet subscribers of Cox               )
 Communications, LLC and CoxCom            )   MEMORANDUM IN SUPPORT OF
 LLC                                       )   MOTION
                                           )
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                    MEMORANDUM IN SUPPORT OF MOTION

I. INTRODUCTION

           On May 29, 2023 Petitioners filed an opposition to a motion to quash the

subpoena by anonymous Cox subscriber John Doe. See Doc. #6. On Aug. 31, 2023,

the Magistrate Judge issued a Finding and Recommendation (“F&R”) that the




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subpoena be quashed. See Doc. #8. Petitioners filed objections to the F&R. See

Doc. #10.

           On Jan. 30, 2024, this Honorable Court issued an Order overruling the

Petitioners’ objections that states: “No later than one week after the date of this

Order, Petitioners are ordered to return and/or destroy any information derived from

the Subpoena, to maintain no further record of the information obtained the

Subpoena, and to make no further use of the subscriber data obtained from the

Subpoena”. Doc. #31, PageID173.

           Petitioners intend to appeal the Order. However, to maintain the status quo,

Petitioners respectfully request that the portion of the Order requiring them “to return

and/or destroy any information derived from the Subpoena, to maintain no further

record of the information obtained the Subpoena” be stayed pending appeal.

           If the Court denies a stay pending appeal, Petitioners request in the alternative

that this Court grant an administrative or temporary stay pending proceedings

associated with a motion for stay pending appeal to be filed in the Ninth Circuit.

II. ARGUMENT

           “While an appeal is pending from an interlocutory order or final judgment that

grants... an injunction, the court may suspend... [the] injunction on terms that...

secure the opposing party's rights.” Fed. R. Civ. P. Rule 62(d). The Court’s Order

is effectively an injunction because it not only quashes the subpoena, but orders
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Petitioners to “to return and/or destroy any information derived from the Subpoena,

to maintain no further record of the information obtained the Subpoena.” Order

[Doc. #31], PageID173.

           A. The Court should grant a stay pending the appeal.

           When ruling on a motion to stay an order pending appeal, Courts consider: (1)

whether the stay applicant has made a strong showing that she is likely to succeed

on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

whether issuance of the stay will substantially injure the other parties interested in

the proceeding; and (4) where the public interest lies. See Nken v. Holder, 556 U.S.

418, 434, 129 S. Ct. 1749, 173 L. Ed. 2d 550 (2009). The Ninth Circuit has applied

a sliding scale approach in the context of stays of injunctive relief. See Leiva-Perez

v. Holder, 640 F.3d 962, 964 (9th Cir. 2011).

                 1. There is a strong likelihood that Petitioners will succeed on the

merits.

           This Honorable Court disagreed with Petitioners’ objections to the F&R.

However, it is undisputed that the issue of whether an Internet Protocol (“IP”)

address used for sharing copies of pirated movies is an information location tool as

provided in 17 U.S.C. §512(d) is a question of first impression in not only the Ninth

Circuit, but the entire nation. Further, the question of whether a service provider

that provides IP addresses and modems to subscribers is merely a conduit per 17
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U.S.C. §512(a) will be a question of first impression before the Ninth Circuit Court

of Appeals. Further, Petitioners respectfully disagree with technical conclusions

made in the Order such as equating null-routing an IP address with disabling access

to an infringers’ account or failing to recognize that blocking certain ports, among

other means, would remove or disable access to infringing material. See Order,

PageID.169. Accordingly, at the least, Petitioners’ respectfully assert that their

objections satisfy the standard of a “fair prospect”, “reasonable probability” or “a

substantial case for relief on the merits” set forth in Leiva-Perez v. Holder, 640 F.3d

962, 967-68 (9th Cir. 2011) for satisfying this factor.

                 2. Petitioners will be irreparably injured absent a stay.

           The Order orders Petitioners to “to return and/or destroy any information

derived from the Subpoena, to maintain no further record of the information obtained

the Subpoena.” Order [Doc. #31], PageID173. Once the materials received are

destroyed, Petitioners will not be able to receive them again. See Decl. of Counsel,

¶4. Moreover, as pointed out in their Reply, Petitioners were informed of at least

one new piracy website where their Works were being pirated from other Cox

subscribers. See Reply [Doc. #24], PageID125 (FN1). If Petitioners destroy this

information, their legal proof for asserting legal relief against the piracy website and

the subscriber data will be lost. The issues at hand would be rendered moot.

Accordingly, the damage will be irreparable.
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                3. Issuance of the Stay will not injure the other parties interested in

the proceeding.

           The only truly interested party in this proceeding is John Doe. However,

because John Doe timely filed a motion to quash, Cox never turned over her

identification information to Petitioners.       Cox turned over the identification

information to Petitioners. Accordingly, neither John Doe nor Cox can be injured

by the stay. Regarding other Cox subscribers who did not object, Petitioners do not

seek a stay of the portion of the Order requiring Petitioners “to make no further use

of the subscriber data obtained from the Subpoena”. Order, PageID173. Therefore,

there is no risk of injury to Cox subscribers that did not file objections.

                4. Public Interest in preventing copyright infringement lies in

enforcing the stay.

           The public has a compelling interest in protecting copyright owners’

marketable rights to their works. See Eldred v. Ashcroft, 537 U.S. 186, 212 n.18

(2005) (“[t]he economic philosophy behind the [Copyright] [C]lause...is the

conviction that encouragement of individual effort by personal gain is the best way

to advance public welfare through the talents of authors and inventors” (emphasis

added)). Ordering Petitioners to destroy evidence they have gathered against a

piracy website will prevent them from protecting the exclusive rights to their Works.


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           Since all four factors weigh in favor of Petitioners, a stay pending appeal

should be granted. Even if this Court decides that the likelihood of success is

minimal, the Ninth Circuit applies a sliding scale balancing test and the weight of

the other factors should balance out that factor.

           B. Alternatively, the Court should grant an Administrative or Temporary

Stay Pending a Motion for Stay Pending Appeal Filed in the Ninth Circuit

           An administrative stay preserves the status quo until a motion for a stay

pending appeal can be considered on the merits. See Nat'l Urban League v. Ross,

977 F.3d 698, 701 (9th Cir. 2020) (quoting Doe #1 v. Trump, 944 F.3d 1222, 1223

(9th Cir. 2019)). Petitioners respectfully assert that an administrative stay would

maintain the status quo in this case. At least while Petitioners’ motion to stay is

pending in the Ninth Circuit, an administrative or temporary stay should be put in

place to prevent the irreparable harm of the information Petitioners seek being

permanently deleted from occurring.

III. CONCLUSION

           Based on the foregoing reasons and authorities, Petitioners respectfully

request that the portion of the Order requiring them to return and/or destroy any

information derived from the Subpoena within one week after the date of the Order

be stayed pending appeal. Alternatively, Petitioners request that this Court grant an


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administrative or temporary stay pending proceedings associated with a motion for

stay pending appeal filed in the Ninth Circuit.



           DATED: Kailua-Kona, Hawaii, Jan. 31, 2024.


                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper
                                  Attorney for Petitioners




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